    8:13-cr-00159-TDT       Doc # 47    Filed: 08/26/13     Page 1 of 1 - Page ID # 81




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )               8:13CR159
                     Plaintiff,                )
                                               )
       vs.                                     )                 ORDER
                                               )
CARL HELLER,                                   )
WADE SHIPPS,                                   )
TERRIE WHITMAN, and                            )
JACQUELINE JACOBS,                             )
                                               )
                     Defendants.               )


       This matter is before the court on the oral motion of defendant Carl Heller (Heller)
to set trial following his inpatient treatment at the NOVA Treatment Center. The request
was made during a release hearing on August 26, 2013. The request is granted, and trial
of this matter as to all defendants will commence before the undersigned magistrate
judge and a jury at 8:30 a.m. on October 30, 2013, in Courtroom No. 7, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       The ends of justice have been served by granting such request and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., from August 26, 2013, and October 30, 2013,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendants’ counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 26th day of August, 2013.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
